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                                           11   CHAUDHURI; AMELIA HIPPERT; WILLIAM E.
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                                                THOMAS; LORI VAN ARSDALE
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                                           13                                    UNITED STATES DISTRICT COURT
                                           14                                   CENTRAL DISTRICT OF CALIFORNIA
                                           15                                            EASTERN DIVISION
                                           16   DANIELLE GAMINO, individually and                No. 5:20-cv-01126-SB-SHK
                                                on behalf of all others similarly situated,
                                           17                                                    KPC DEFENDANTS’ OPPOSITION
                                                                            Plaintiff,           TO MOTION TO CONSOLIDATE
                                           18
                                                     v.                                          Hearing:
                                           19   KPC HEALTHCARE HOLDINGS, INC.,                   Date:        January 7, 2022
                                                KPC HEALTHCARE, INC.,                            Time:        8:30 a.m.
                                           20   EMPLOYEES STOCK OWNERSHIP                        Courtroom:   6C
                                                PLAN COMMITTEE, KALI PRADIP                      Judge:       Hon. Stanley
                                           21   CHAUDHURI, KALI PRIYO                                         Blumenfeld. Jr.
                                                CHAUDHURI, ALERUS FINANCIAL,
                                           22   NA, AMELIA HIPPERT, WILLIAM E.
                                                THOMAS, LORI VAN ARSDALE
                                           23
                                                                            Defendants,
                                           24            and
                                           25   KPC HEALTHCARE, INC. EMPLOYEE
                                                STOCK OWNERSHIP PLAN,
                                           26
                                                                            Nominal Defendant.
                                           27
                                           28

                                                                 KPC DEFENDANTS’ OPPOSITION TO MOTION TO CONSOLIDATE
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                                            1            For the reasons below, Defendants KPC Healthcare Holdings, Inc., Dr. Kali
                                            2   Pradhip Chaudhuri, Kali Priyo Chaudhuri, William E. Thomas, Amelia Hippert, and
                                            3   Lori Van Arsdale (the “KPC Defendants”) oppose plaintiff’s Motion to Consolidate
                                            4   (“Mot.”), Dkt. 213, this action with Gamino v. SPCP Group, LLC, No. 5:21-cv-
                                            5   01466-SB-SHK (“SPCP Group”), also currently pending before this Court.
                                            6   I.       INTRODUCTION
                                            7            This case involves Employee Retirement Income Security Act of 1974
                                            8   (“ERISA”) claims that arise from a 2015 transaction during which the KPC
                                            9   Healthcare Holdings Inc. Employee Stock Ownership Plan (the “ESOP”) purchased
                                           10   100% of the stock of KPC Healthcare Holdings, Inc. (“KPC”) from defendant Dr.
                                           11   Kali Pradip Chaudhuri. Dkt. 179 at ¶ 5. 1 Plaintiff claims that the ESOP’s
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                                           12   independent trustee, Alerus Financial, N.A. (“Alerus”), caused the ESOP to overpay
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                                           13   for Dr. Chaudhuri’s stock, and as a result, Alerus, Dr. Chaudhuri, and other KPC
                                           14   directors engaged in transactions prohibited by ERISA and breached their fiduciary
                                           15   duties. Id. at ¶¶ 113-201.
                                           16            Over a year into this case, after substantial discovery was complete and with a
                                           17   class certification motion pending, plaintiff sought leave to amend her complaint and
                                           18   add SPCP Group, LLC (“SPCP”) as a defendant. Dkt. 152. Plaintiff alleged SPCP
                                           19   “knowingly participated” in alleged breaches of ERISA fiduciary duties and
                                           20   prohibited transactions relating to the 2015 ESOP transaction. Dkt. 151-1 at ¶¶ 5,
                                           21   131-133. Specifically, plaintiff alleged that SPCP should be held derivatively liable
                                           22   for others’ ERISA violations because SPCP took part in a separate warrant
                                           23   transaction with KPC as “part of the” 2015 ESOP transaction. Id.
                                           24
                                           25
                                           26
                                           27   1
                                                  “Dkt.” refers to the clerk’s record in this case and “SPCP Dkt.” refers to the clerk’s
                                                record in Gamino v. SPCP Group, LLC, No. 5:21-cv-01466-SB-SHK; both are
                                           28   followed by the applicable docket number.
                                                                                          1
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                                            1            This Court denied plaintiff leave to add SPCP. Dkt. 174 at 3. The Court found
                                            2   that plaintiff had not acted with diligence in pursuing her claims against SPCP, and
                                            3   that amendment would result in “serious prejudice or cause substantial delay.” Id.
                                            4            Plaintiff now seeks to get around this Court’s prior ruling by bringing a
                                            5   separate action against SPCP in SPCP Group, alleging a claim identical to the ones
                                            6   this Court rejected, and then seeking consolidation of this case with SPCP Group.
                                            7   This Court should deny consolidation.
                                            8            SPCP Group is significantly behind this case procedurally. It has not
                                            9   progressed beyond SPCP filing a motion to dismiss, which will not be heard until
                                           10   late January. SPCP Dkt. 33. This case, however, is well underway. The parties have
                                           11   already expended significant resources on class certification, discovery, and related
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                                           12   motion practice. Trial is scheduled to begin on October 10, 2022. This Court has
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                                           13   cautioned the parties on more than one occasion that “the Court expects to bring this
                                           14   case to trial expeditiously,” and will not entertain any schedule changes that delay
                                           15   trial. See Dkt. 174 at 13; Dkt. 208 at 1. Given the significant amount of “catch up”
                                           16   work SPCP will have to undertake in order to be ready for trial in October,
                                           17   consolidation will either result in substantial prejudice to SPCP or require this Court
                                           18   to significantly delay this trial. These are the exact results the Court sought to avoid
                                           19   when it denied leave to amend.
                                           20            The KPC Defendants are diligently preparing for the October 2022 trial date.
                                           21   The KPC Defendants vigorously deny the claims against them, which have now been
                                           22   pending for a year and half, and wish to proceed to trial as currently scheduled. See,
                                           23   e.g., Dkts. 46, 188. The Court should avoid delay and deny consolidation.
                                           24   II.      FACTUAL & PROCEDURAL BACKGROUND
                                           25            In June 2020, plaintiff filed her complaint in this case alleging, among other
                                           26   things, that the ESOP paid more than fair market value when it purchased 100% of
                                           27   KPC stock from Dr. Chaudhuri during the 2015 ESOP transaction. Compl., Dkt. 1 at
                                           28   ¶ 3. As a result of this alleged overpayment, plaintiff claimed that Alerus, Dr.
                                                                                          2
                                                                 KPC DEFENDANTS’ OPPOSITION TO MOTION TO CONSOLIDATE
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                                            1   Chaudhuri, and other KPC directors engaged in transactions prohibited by ERISA
                                            2   and breached their fiduciary duties. Id.
                                            3            After this Court denied defendants’ motions to dismiss in January 2021, Dkt.
                                            4   76, defendants began producing documents in response to plaintiff’s discovery
                                            5   requests, which she had issued in October 2020 and throughout the fall of 2020. See
                                            6   SPCP Dkt. 18-2 ¶¶ 2-4. In April 2021, Alerus produced copies of warrant purchase
                                            7   agreements, one between KPC and SPCP and one between KPC and William
                                            8   Thomas, which set forth the terms of August 28, 2015 transactions by which KPC
                                            9   redeemed warrants held by SPCP and Thomas entitling them to acquire KPC
                                           10   common stock. See Dkt. 162 at 9; Dkt. 174 at 3.
                                           11            On May 19, 2021, plaintiff filed her motion for class certification, which
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                                           12   specifically referenced her potential claims against SPCP. Dkt. 133 at 20, n.3. On
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                                           13   June 16, 2021, plaintiff filed her amended motion for class certification, Dkt. 144,
                                           14   which this Court granted on August 6, 2021. Dkt. 174. On August 13, 2021, she
                                           15   filed her first amended complaint, the operative complaint in this case, and added
                                           16   claims against Dr. Chaudhuri and defendant William Thomas based on the Thomas
                                           17   warrant purchase with KPC. See FAC, Dkt. 179 at ¶¶ 122, 131-133. She also added
                                           18   ERISA co-fiduciary breach claims against Alerus and the other KPC Defendants. Id.
                                           19   at ¶¶ 197-201. This Court granted in part and denied in part defendants’ motions to
                                           20   dismiss those claims on November 1, 2021. Dkt. 209.
                                           21            Under the Court’s case management order in this case, fact discovery is set to
                                           22   close in June 2022 and expert discovery is set to close in July 2022. Dkt. 186.
                                           23   Dispositive motions are due July 2022. Id. Trial is set to begin October 10, 2022.
                                           24   Dkt. 208. This Court has stated on several occasions that it does not want to delay
                                           25   trial in this case any further, and “the parties should be mindful that…the Court
                                           26   expects to bring this case to trial expeditiously.” See Dkt. 174 at 13; Dkt. 208 at 1.
                                           27            On July 7, 2021, over a year into this case and after she had already moved for
                                           28   class certification, plaintiff sought leave to amend her complaint to add SPCP as a
                                                                                          3
                                                                 KPC DEFENDANTS’ OPPOSITION TO MOTION TO CONSOLIDATE
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                                            1   defendant. Dkt. 152. In her proposed amended complaint, plaintiff alleged that
                                            2   SPCP invested in Dr. Chaudhuri’s purchase of KPC’s predecessor entity. Dkt. 151-1
                                            3   at ¶ 56. Citing the warrant purchase agreement that had been produced to her three
                                            4   months earlier in April, she alleged that SPCP sold the warrants to KPC as “a part of
                                            5   the 2015 ESOP transaction.” Id. at ¶ 71. Plaintiff then alleged that “as a seller of
                                            6   warrants to KPC” SPCP was derivatively liable for knowingly participating in the
                                            7   existing defendants’ prohibited transactions and fiduciary breaches in connection
                                            8   with the ESOP’s alleged overpayment. Id. at ¶¶ 123, 135, 146.
                                            9            KPC Defendants and Alerus opposed plaintiff’s motion for leave, arguing,
                                           10   among other things, that the amendment would cause delay and that SPCP would be
                                           11   prejudiced. Dkt. 158 at 15. On August 6, 2021, this Court denied plaintiff’s request
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                                           12   to add SPCP as a defendant, finding that adding SPCP 14 months after the complaint
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                                           13   was filed “would either subject SPCP to serious prejudice or cause substantial
                                           14   delay.” Dkt. 174 at 3 (emphasis added). The Court also found that plaintiff had not
                                           15   acted diligently in pursuing her claims against SPCP. Id.
                                           16            Plaintiff now seeks to circumvent this Court’s ruling by bringing SPCP Group
                                           17   and consolidating it with this case. The operative complaint in SPCP Group, filed on
                                           18   November 22, 2021, is virtually identical to her proposed amended complaint in this
                                           19   case. SPCP Dkt. 21. Just as she had done in her proposed amended complaint in this
                                           20   case, plaintiff’s FAC in SPCP Group alleges that SPCP “knowingly participated” in
                                           21   Dr. Chaudhuri’s and Alerus’s breaches of their fiduciary duties and prohibited
                                           22   transactions in connection with the ESOP’s alleged overpayment. Id. at ¶¶ 5, 132-
                                           23   133. Plaintiff’s claim against SPCP is again based exclusively on her allegations that
                                           24   SPCP was an investor in KPC’s predecessor entity, SPCP obtained warrants entitling
                                           25   to it KPC stock, and SPCP sold those warrants as “a part” of the 2015 ESOP
                                           26   transaction. Id. at ¶¶ 59, 126-131.
                                           27            SPCP filed a motion to dismiss the FAC in SPCP Group on December 9, 2021.
                                           28   SPCP Dkt. 33.
                                                                                          4
                                                                 KPC DEFENDANTS’ OPPOSITION TO MOTION TO CONSOLIDATE
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                                            1   III.     THIS COURT SHOULD DENY PLAINTIFF’S MOTION FOR
                                            2            CONSOLIDATION BECAUSE IT WILL LEAD TO INEFFICIENCY
                                            3            AND DELAY OF THIS CASE
                                            4            “If actions before the court involve a common question of law or fact, the
                                            5   court may: (1) join for hearing or trial any or all matters at issue in the actions;
                                            6   (2) consolidate the action; or (3) issue any other orders to avoid unnecessary cost or
                                            7   delay.” Fed. R. Civ. P. 42(a). “The primary purpose of the rule is to promote trial
                                            8   court efficiency…” Rancho Agricola Santa Monica, S. de R.L. de C.V. v. Westar
                                            9   Seeds Int'l., Inc., No. 08CV1998 JM (JMA), 2009 WL 3148756, at *2 (S.D. Cal.
                                           10   Sept. 29, 2009). Consolidation thus is inappropriate “if it leads to inefficiency,
                                           11   inconvenience, or unfair prejudice to a party.” Team Enterprises, LLC v. Western
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                                           12   Investment Real Estate Trust, No. 1:08CV00872LJOSMS, 2008 WL 4712759, at *1
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                                           13   (E.D. Cal. Oct. 23, 2008). This is true even where the cases at issue overlap
                                           14   factually. See, e.g., Applied Materials, 1994 WL 16780779, at *1 (“Although the
                                           15   court finds that there are some common issues, the mere existence of common issues
                                           16   . . . does not mandate consolidation.”) (quotation marks and citation omitted).
                                           17            District courts are vested with “broad discretion” to determine whether a given
                                           18   situation warrants consolidation. Id.; see also Washington v. Daley, 173 F.3d 1158,
                                           19   1169 n.13 (9th Cir. 1999) (“The district court also did not abuse its discretion in
                                           20   denying the motion for consolidation.”). “The party seeking consolidation has the
                                           21   burden of establishing that consolidation would result in judicial economy and
                                           22   convenience.” Wright v. United States, No. C92-1290 BAC, 1993 WL 313040, at *1
                                           23   (N.D. Cal. Aug. 6, 1993); see also Sapiro v. Sunstone Hotel Investors, L.L.C., No.
                                           24   CV031555 PHX SRB, 2006 WL 898155, at *2 (D. Ariz. Apr. 4, 2006) (same).
                                           25   Plaintiff has failed to meet this burden.
                                           26            Plaintiff seeks to consolidate SPCP Group with this case after a year and half
                                           27   of litigation, discovery, and class certification in this case, and with less than a year
                                           28   before trial. The parties have already expended significant resources on discovery
                                                                                          5
                                                                 KPC DEFENDANTS’ OPPOSITION TO MOTION TO CONSOLIDATE
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                                            1   and class certification. Plaintiff has served seven requests for production of
                                            2   documents and three sets of written interrogatories on the parties and served
                                            3   subpoenas on eight non-parties. See SPCP Dkt. 38-1 at ¶¶ 2, 4. In response to
                                            4   plaintiff’s discovery requests and subpoenas, defendants and non-parties have
                                            5   produced hundreds of thousands of pages of discovery and engaged in significant
                                            6   motion practice regarding the scope and subject matter of the discovery requests.
                                            7   See, e.g., Dkts 117, 119, 125; SPCP Dkt. 38-1 at ¶¶ 2, 4. A class has already been
                                            8   certified. Dkt. 174.
                                            9            This Court has already recognized that adding SPCP at this advanced stage of
                                           10   the litigation will “cause substantial delay.” Dkt. 174 at 3. Plaintiff filed the
                                           11   operative complaint in SPCP Group less than one month ago and the briefing on
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                                           12   SPCP’s motion to dismiss is not yet complete. See SPCP Dkt. 33. Plaintiff will have
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                                           13   to “separately” move for class certification of the SPCP claim, Mot. at 15, n.2, which
                                           14   SPCP has stated it will oppose. SPCP Dkt. 38 at 10. If the cases are consolidated,
                                           15   SPCP will have to, at a minimum: (1) oppose class certification; (2) review the
                                           16   hundreds of thousands of pages of already-produced discovery; (3) propound its own
                                           17   written discovery; (4) respond to any discovery plaintiff requests of it; and
                                           18   (5) evaluate what experts to engage, interview potential experts, and assist those
                                           19   experts to familiarize themselves with the facts of the case.
                                           20            The staggering amount of work SPCP would have complete in the next six
                                           21   months to catch up with this case’s current schedule would cause SPCP substantial
                                           22   prejudice. Id. at 10-11. In order to avoid such prejudice, this Court would inevitably
                                           23   need to modify its deadlines and delay this trial. The KPC Defendants have
                                           24   vigorously denied and defended the claims against them, are eager to proceed to trial,
                                           25   and are diligently preparing for it to begin in early October 2022. See, e.g., Dkts. 46,
                                           26   188. It would prejudice them to have to delay resolution of this case any further.
                                           27            Even when two cases overlap factually, Rule 42 cautions against consolidation
                                           28   under circumstances similar to the ones here, when consolidation would lead to
                                                                                          6
                                                                 KPC DEFENDANTS’ OPPOSITION TO MOTION TO CONSOLIDATE
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                                            1   unfair prejudice, delay, or inconvenience. See Team Enterprises, LLC, 2008 WL
                                            2   4712759, at *1; see also Applied Materials, 1994 WL 16780779, at *1. Thus, any
                                            3   efficiencies that this Court could achieve through consolidation, see Mot. 10-11,
                                            4   would be offset by the inconvenience of having this case delayed further. Under
                                            5   Rule 42, this Court has “broad discretion” to order consolidation or “issue any other
                                            6   orders to avoid unnecessary…delay.” See Fed. R. Civ. P. 42(a); Applied Materials,
                                            7   1994 WL 16780779, at *1. As discussed in SPCP’s opposition to plaintiff’s motion
                                            8   to consolidate, this Court could stay SPCP Group pending an outcome in this case.
                                            9   See SPCP Dkt. 38 at 12-13. Staying SPCP Group would avoid any prejudice to
                                           10   SPCP and would eliminate the need to delay the trial in this case. It is therefore a
                                           11   more appropriate outcome under Rule 42 than consolidation.
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                                           12   IV.      CONCLUSION
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                                           13            This Court has made clear it does not want the trial in the case delayed any
                                           14   further. The KPC Defendants agree. Adding SPCP at this late juncture will cause
                                           15   prejudice or substantial delay, as this Court has previously recognized. The KPC
                                           16   Defendants respectfully request that this Court deny plaintiff’s motion to consolidate.
                                           17
                                           18    Dated: December 17, 2021         Respectfully submitted,
                                           19                                     MCDERMOTT WILL & EMERY LLP
                                           20
                                                                                  By:   /s/ Julian L. André
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                                                                                        EMPLOYEES STOCK OWNERSHIP
                                           25                                           PLAN COMMITTEE, KALI PRADIP
                                                                                        CHAUDHURI, KALI PRIYO
                                           26                                           CHAUDHURI, AMELIA HIPPERT,
                                                                                        WILLIAM E. THOMAS, LORI VAN
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                                                                 KPC DEFENDANTS’ OPPOSITION TO MOTION TO CONSOLIDATE
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